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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: July 20, 2023.

                                                                           __________________________________
                                                                                   SHAD M. ROBINSON
                                                                           UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

       In re:                                              §
                                                           §        Case No. 23-10164-smr
       ASTRALABS, INC.,                                    §
                                                           §        Chapter 7
                Debtor.                                    §

                  SECOND INTERIM ORDER (A) GRANTING TRUSTEE’S MOTION
                     TO (I) AUTHORIZE SERVICE ON CERTAIN PARTIES BY
                   E-MAIL, AND (II) APPROVE THE FORM OF E-MAIL NOTICE,
                          AND (B) AUTHORIZING FILING UNDER SEAL

                CAME ON FOR CONSIDERATION the Motion to (I) Authorize Service on Certain

   Parties by E-mail and (II) Approve the Form of E-Mail Notice [Docket No. 155] (the “Motion”)1

   filed by Randolph N. Osherow, not individually but in his capacity as the duly appointed chapter 7

   trustee (in such capacity, the “Trustee”), for and on behalf of ASTRALABS, Inc. (the “Debtor”)

   under the above-captioned chapter 7 bankruptcy case (the “Bankruptcy Case”). After having

   considered the Motion and the record before it, and including for the reasons stated in the Motion

   and by the Court on the record, the Court finds and determines that: (i) the Court has jurisdiction


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         Capitalized terms used herein, not otherwise defined, shall be given the meaning ascribed in the Application.



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   over this matter pursuant to 28 U.S.C. § 1334; (ii) this is a core proceeding pursuant to 28 U.S.C.

   § 157(b)(2); (iii) the Court may enter a final order consistent with Article III of the United States

   Constitution; (iv) venue of this proceeding and the Motion in this district is proper pursuant to

   28 U.S.C. §§ 1408 and 1409; (v) the legal and factual bases stated by the Court on the record

   establish cause for the relief granted herein; and (vi) the relief requested in the Motion and granted

   in this Second Interim Order is in the best interests of the Debtor, its estate, creditors, and all

   parties-in-interest; therefor, IT IS HEREBY ORDERED ON AN INTERIM BASIS THAT:

          1.      The Motion is granted on an INTERIM basis as set forth herein.

          2.      The Trustee is authorized to transmit and serve, via e-mail transmission, the

   proposed form of notice, attached hereto as Exhibit “A” and incorporated herein by reference for

   all purposes (the “Notice”), upon all known creditors, equity interest holders, issuers of warrants,

   customers, executory contract and lease counterparties, and other parties-in-interest (collectively,

   the “Service Parties”) using the Trustee’s most recent existing records of such parties’ e-mail

   addresses obtained from the Debtor (the “Sealed Matrix”).

          3.      Under and in connection with the Trustee’s corresponding certificate of service of

   such Notice upon the Service Parties, the Trustee shall not publicly file the Sealed Matrix or

   individually identify any Service Parties contained therein other than by name (not including any

   contact information or any other personal identifying information) or as otherwise shown on the

   existing official service matrix filed by the Debtor and maintained in the Bankruptcy Case.

   Instead, in lieu of publicly filing the Sealed Matrix, the Trustee is hereby authorized to file the

   Sealed Matrix, and may also file updated versions of the Sealed Matrix from time to time in the

   Trustee’s discretion, under Seal with the Clerk of the Court, and the Clerk shall maintain all such

   versions of the Sealed Matrix under seal unless and until otherwise ordered by this Court.




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          4.      Pursuant to Local Rule 9018(3)(B), the following entities shall have access to the

   Sealed Matrix, without needing to submit a request to the Trustee as set forth below: (a) the judge

   presiding over the case, (b) the law clerk to whom the matter is assigned internally by the presiding

   judge, (c) the Courtroom Deputy responsible for the matter, (d) the Clerk of the Court, and (e) the

   presiding judge and staff of any appellate tribunal.

          5.      Any other party-in-interest wishing to access a copy of the Sealed Matrix may do

   so solely for the purpose of providing notice and service of any filings made in this particular case

   by such party and may not request nor attempt to use the Sealed Matrix for any other purpose.

   Such requests to receive a copy of the Sealed Matrix may be made to the Trustee, in writing, via

   his undersigned counsel of record, provided, however, that all such requests are expressly

   conditioned on the requesting party signing a copy of the Protective Order attached hereto as

   Exhibit “A” (“Protective Order”), or another written acknowledgement in form reasonably

   acceptable to the Trustee affirming the requesting party’s obligation to comply with the Protective

   Order. If the Trustee refuses or declines the request for any reason, the requesting party may file

   a motion before this Court requesting such access and asking that such request be heard on an

   expedited or emergency basis. The Trustee and Estate shall have no liability for any such

   determination and requesting parties should afford the Trustee a reasonable time to respond to a

   request under the particular circumstances.

          6.      Pending further Order of this Court providing otherwise, the Trustee and all

   parties-in-interest wishing to certify the provision of service or notice provided in this case to any

   or all parties, persons, and entities whose contact information is disclosed in this case only on the

   Sealed Matrix are hereby authorized to materially certify as follows, and as applicable:

          As expressly authorized by the Court and by [his / her] signature below, the
          undersigned hereby certifies that [s/he] personally caused to be served a true and



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          correct copy of this document on [DATE], via [e-mail and/or mail] transmission
          upon the parties listed at Official Docket No. [BLANK].

                                         OR

          As expressly authorized by the Court and by [his / her] signature below, the
          undersigned hereby certifies that [s/he] personally caused to be served a true and
          correct copy of this document on [DATE], via [e-mail and/or mail] transmission
          upon the [party / parties] listed below, and using such [party’s / parties’] contact
          information listed at Official Docket No. [BLANK].

          7.      Notice and service in this case to and upon the Service Parties is hereby

   AUTHORIZED on an interim basis and the service requirements of Bankruptcy Rule 2002(g) are

   modified to permit e-mail service as set forth in this Order.

          8.      Pending further Order of this Court providing otherwise, the Trustee shall not

   disclose the Sealed Matrix in this Bankruptcy Case or provide it to any requesting parties other

   than as set forth in this Second Interim Order.

          9.      Nothing in this Order adversely impacts the right or ability of any party-in-interest

   to request or consent to be included and publicly disclosed for purposes of receiving notice in this

   case, whether via e-mail, mailing address, or otherwise. Nothing in this Order provides for or

   requires the sealing, confidentiality, or non-disclosure of any matter that has already been publicly

   disclosed in this case or otherwise. Nothing in this order supersedes Local Bankruptcy Rule

   9013(d).

          10.     This Interim Order expires under its terms at 11:59 p.m., on August 31, 2023, unless

   otherwise Ordered by this Court. A Final Hearing to consider the Motion is hereby scheduled to

   take place Thursday, August 30, 2023, at 10:00 a.m., which hearing shall be conducted in person

   before the Honorable Shad M. Robinson, Homer J. Thornberry Federal Judicial Building, 903 San

   Jacinto Blvd., Third Floor, Austin, Texas 78701. The Trustee shall be responsible for notice. The




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   United States Trustee reserves all rights with respect to the Motion and the relief sought therein on

   a final basis.

           11.      The Trustee is authorized to take all actions necessary to effectuate the relief

   granted in this Order in accordance with the Motion.

           12.      The Court retains exclusive jurisdiction with respect to all matters arising from or

   related to the implementation, interpretation, and enforcement of this Order.

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   AGREED AS TO FORM:


   By: /s/ Jay H. Ong
   Jay H. Ong                                  By: /s/Robert C. Lane
   Texas Bar No. 24028756                      Robert C. Lane
   Thanhan Nguyen                              State Bar No. 24046263
   Texas Bar No. 24118479                      Joshua Gordon
   MUNSCH HARDT KOPF & HARR, P.C.              State Bar No. 24091592
   1717 West 6th Street, Suite 250             THE LANE LAW FIRM, PLLC
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   Telephone: (512) 391-6100                   Houston, Texas 77036
   Facsimile: (512) 391-6149                   (713) 595-8200 Voice
                                               (713) 595-8201 Facsimile
   Counsel to the Trustee
                                               Former Counsel to the Debtor
    By: /s/ Ron Satija
    Ron Satija
    Texas Bar Number: 24039158
    HAYWARD, PLLC                              By: /s/ Shane P. Tobin
    7600 Burnet Rd. Ste. 530                   Shane P. Tobin
    Austin, Texas 78757                        CA State Bar No. 317282
    (737) 881-7100                             J. Casey Roy
                                               Texas Bar No. 00791578
    Counsel for Andrew Ryan, Nihar Patel       903 San Jacinto Blvd., Room 230
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                                               Counsel for the U.S. Trustee




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